            Case 2:10-cr-00361-KJM Document 170 Filed 02/21/12 Page 1 of 3


 1 Law Offices of Ron Peters
   RON PETERS (SBN: 45749)
 2 50 Fullerton Court, Suite 207
   Sacramento, California 95825
 3 Telephone: (916) 922-9270
    Facsimile: (916) 922-2465
 4 email: ronslaw207@sbcglobal.net
 5 Attorney for Defendant
   KELLY MILES
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 7
                           IN THE UNITED STATES DISTRICT COURT FOR THE
 8
                                 EASTERN DISTRICT OF CALIFORNIA
 9                                            -o0o-
10
     UNITED STATES OF AMERICA,               )     CASE NO.: 2:10-cr-00361-LKK
11                                           )
                   Plaintiff,                )
12                                           )     STIPULATION AND ORDER TO
     v.                                      )     CONTINUE JUDGMENT AND
13                                           )     SENTENCING
     KELLY MILES,                            )
14                                           )
                   Defendant.                )
15                                           )

16         The United States of America, through its counsels of record, Benjamin B. Wagner, United

17 States Attorney for the Eastern District of California, and Laurel D. White, Assistant United States
18 Attorney, and defendant Kelly Miles, through his attorney, Ronald Peters, Esq, hereby stipulate and
19 agree that the judgment and sentencing hearing scheduled for February 22, 2012, at 9:15 am should be
20 continued to March 13, 2012 at 9:15 a.m.
21         The presentence report contains factors which were not contemplated by the plea agreement and

22 both sides need additional time to address those issues and possible variances.
23         Parties agree that time should be excluded pursuant to 18 U.S.C. § 3161(h)(8)(B)(iv), and

24 Local Code T-4 - reasonable time to prepare and for continuity of counsel. The parties agree that time
25 be excluded under this provision from February 22, 2012, to and including March 13, 2012.
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          U.S. vs. MILES                                                 STIPULATION AND ORDER TO
                                                                         CONTINUE SENTENCING
          Case 2:10-cr-00361-KJM Document 170 Filed 02/21/12 Page 2 of 3


 1 DATE: February 21, 2012                        Respectfully submitted
 2
                                                  /s/Ron Peters
 3                                                RON PETERS
                                                  Attorney for Defendant
 4                                                KELLY MILES
 5
 6 DATE: February 21, 2012                        /s/ Ron Peters for Laurel D. White
                                                  Laurel D. White
 7                                                Assistant U.S. Attorney
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         U.S. vs. MILES                                   STIPULATION AND ORDER TO
                                                          CONTINUE SENTENCING
             Case 2:10-cr-00361-KJM Document 170 Filed 02/21/12 Page 3 of 3


 1
                                    ORDER FINDING EXCUSABLE TIME
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            For the reasons set forth in the accompanying stipulation and declaration of counsel,
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     the status conference in the above-entitled action is continued to March 13, 2012 at 9:15 a.m.
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     The court finds excusable time in this matter from February 22, 2012 through March 13, 2012
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     under 18 U.S.C. § 3161(h)(8)(B)(iv) and Local Code T4, to allow continuity of counsel and
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     to allow reasonable time necessary for effective presentation. For the reasons stipulated by
 7
     the parties, the Court finds that the interest of justice served by granting the requested
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     continuance outweigh the best interests of the public and the defendant in a speedy trial. 18
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     U.S.C. 3161(h)(8)(A), (h)(8)(B)(iv).
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            IT IS SO ORDERED.
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14 Date: February 21, 2012
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            U.S. vs. MILES                                                   STIPULATION AND ORDER TO
                                                                             CONTINUE SENTENCING
